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1          LAW OFFICES OF
     CHRISTOPHER H. WING
2    A PROFESSIONAL CORPORATION
          1101 E STREET
3     SACRAMENTO, CA 95814
                    441-4888
               State Bar #063214
4

5    ATTORNEY FOR:         Defendant
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7

8                                   IN THE UNITED STATES DISTRICT COURT

9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA                        No. CR. 06-0356 FCD

12                                    Plaintiff,     ORDER CONTINUING STATUS
                                                     HEARING; EXCLUSION OF TIME
13        v.

14                                                   “AS MODIFIED”
     KY CHAN HAU, SAM WANG
15   CHAO, KIENG PHAT LIENG,
                     Defendants.
16

17
                                                   ORDER
18
            This matter having come on before me pursuant to the stipulation of the parties
19
     filed January 4, 2007, and good cause appearing therefore,
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            IT IS ORDERED THAT: the Status Conference Hearing now set for
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     January 8, 2007 at 10:00 am is vacated and the matter set for a Status Conference
22
     Hearing on, February 20, 2007 at 10:00 am.
23
            Further, the Court finds that the defendants' need for additional time to prepare
24
     exceeds the public interest in a trial within 70 days, and therefore the interests of justice
25
     warrant a further exclusion of time until the hearing on February 20, 2007 and based
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     upon that finding, the Court excludes time based upon that representation of the parties
27
     from January 8, 2007 pursuant to the Speedy Trial Act, 18 U.S.C. §3161(h)(8)(B)(iv) to
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               2      allow sufficient time for counsel to be prepared, [Local Code T4], until the next

               3      appearance, on February 20, 2007 or by further order of this Court.

               4      DATED: January 4, 2007

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               7                                         _______________________________________
                                                         FRANK C. DAMRELL, JR.
               8                                         UNITED STATES DISTRICT JUDGE

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LAW OFFICES OF
CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
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